Case 6:05-cv-01430-GAP-JGG Document 3 Filed 09/28/05 Page 1 of 13 PagelD 8
05030 |y

IN THE CIRCUIT COURT OF THE NINTH JUDICIAL CIRCUIT,
IN AND FOR ORANGE COUNTY, FLORIDA
CIVIL DIVISION

AVISTA MANAGEMENT, INC.,
dibla AVISTA PLEX, INC.

Plaintiff, CASE NO:
WS.

WAUSAU UNDERWRITERS
INSURANCE COMPANY,

Defendant.

UNE AR METHODS OF Ee AND UNFAIR OR
DECEPTIVE ACTS OR PRACTICES

The Plaintiff, AVISTA MANAGEMENT INC. d/b/a AVISTA PLEX, INC. ('AVISTA

PLEX}, by and through its undersigned counsel, sues the Defendant, WAUSAU
UNDERWRITERS INSURANCE COMPANY ("WAUSAU UNDERWRITERS"), and
alleges the following:

GENERAL ALLEGATIONS

1. This is an action for damages in excess of Fifteen Thousand and No/100
Dollars ($15,000) exclusive of pre-judgment interest, court costs, and attorney fees,

2 At all times relevant hereto the Plaintiff, AVISTA PLEX, was and is a
Florida Corporation with its principal place of business located at 5353 Conroy Road,
Suite #200, Orlando, Orange County, Florida.

3. Upon information and belief, at all times material hereto, WAUSAU

UNDERWRITERS, was and is foreign corporation duly authorized to conduct business
Case 6:05-cv-01430-GAP-JGG Document 3 Filed 09/28/05 Page 2 of 13 PagelD 9

in the State of Florida and is engaged in the business of insurance in Orange County,
Florida and throughout the State of Flonda.

4. Upon information and belief, at all times material hereto, WAUSAU
UNDERWRITERS was a properly licensed and qualified insurance carner by the State
of Florida to engage inthe business of insurance with Florida citizens.

5. In consideration of the premium paid to it by AVISTA PLEX, WAUSAU
UNDERWRITERS issued to AVISTA PLEX in Orlando, Orange County, Florida, a
Commercial Property Insurance Policy, Policy No. ¥YJ-291-542331-104 (“The Policy").
which was in full force and effect at the time the damage occurred as a result of
hurricane and/or hurricane force winds (Hurricane Charley) and the ensuring damages
at the insured premises, known as Avista Plex, Inc., located at §353 Conroy Road, Suite
#200, Orlando, Orange County, Florida on or about August 13, 2004. A true and
accurate copy of the policy is in WAUSAU UNDERWRITERS possession. A copy of
The Policy is attached hereto as Exhibit “A.”

6. On August 13, 2004, AVISTA PLEX sustained substantial damages as a
result of Hurricane Charley.

7. AVISTA PLEX paid all premiums on The Policy, and The Policy was in full
and continuing force and effect at all relevant times herein.

8. The damage to AVISTA PLEX’S property was due to hurricane and
windstorm activity and was, therefore, a covered peril under The Policy, as well as the

ensuing damages.
Case 6:05-cv-01430-GAP-JGG Document 3 Filed 09/28/05 Page 3 of 13 PagelD 10

9, AVISTA PLEX. complied with all conditions precedent to obtaining
payment of benefits under The Policy from WAUSAU UNDERWRITERS and/or
WAUSAU UNDERWRITERS waived such conditions precedent.

10. WAUSAU UNDERWRITERS investigated and adjusted the loss through
its duly authorized representatives and adjusters (Claim No. XB0A-001906-00),
including but not limited to, Robby Phillips.

11. WAUSAU UNDERWRITERS acknowledged that the loss was covered,
but wrongfully failed and/or refused to tender all insurance monies, undisputed or
otherwise, due and owing AVISTA PLEX.

12. AVISTA PLEX has fully resolved its underlying conflict and dispute with
WAUSAU UNDERWRITERS in @ manner favorable to AVISTA PLEX.

13. AVISTA PLEX has complied with all the conditions precedent to filing this
action by sending a January 31, 2005, Civil Remedy Notice of Insurer Violation to both
the Florida Department of Financial Services and to WAUSAU UNDERWRITERS. (See
attached Exhibit "B").

14. WAUSAU UNDERWRITERS did not pay damages or correct the
circumstances within mandated sixty (60) days of the Civil Remady Notice of Insurer
Violation Acceptance by the Florida Department of Financial Services. See, Fila.
§624.155.

15. An insurance contract is a contract of adhesion and should be construed
in the light most favorable to the insured.

16. The concept of insurance is that insurance is the insurer's granting of

prompt indemnity or security against a contingent loss.
Case 6:05-cv-01430-GAP-JGG Document 3 Filed 09/28/05 Page 4 of 13 PagelD 11

47. Inherent in any insurance contract is the premise that payment must be
made promptly so that the insured may mitigate his/her damages and be put back into
the position he/she was prior to loss as quickly as possible.

18. Florida Statute §626.877 entitled, “Adjustments to comply with insurance
contract and law," states that “felvery adjuster shall adjust or investigate every claim,
damage, or loss made or occurring under an insurance contract, in accordance with the
terms and conditions of the contract and of the applicable laws of this state.”

19. Florida Statute 8627.4135 entitled “Casualty insurance contracts subject
to general provisions for insurance contracts," states that "[ajll contracts of casualty
insurance covering subjects resident, located, or to be performed in this state shall he
subject to the applicable provisions of this part and to the other applicable provisions of
this code.”

20, In Florida, the wark of adjusting insurance claims engages the Public
Trust.

(UNFAIR CLAIMS PRACTICES PURSUANT TO
FLORIDA STATUTE §624.155 & §626.9541)

21. AVISTA PLEX realleges the allegations contained in Paragraphs 1
through 20 above as stated herein in full, and further alleges the following.

22. This is an action for Bad Faith pursuant to Florida Statute §624.155 and
§626.9541.

23. This action arose from a hurricane loss that occurred at AVISTA PLEX’S
insured premises on or about August 13, 2004. Although, WAUSAU UNDERWRITERS

admitted that AVISTA PLEX had coverage for hurricane and/or hurricane wind force
Case 6:05-cv-01430-GAP-JGG Document 3 Filed 09/28/05 Page 5 of 13 PagelD 12

damages, WAUSAU UNDERWRITERS withheld, denied, failed and/or refused to tender
all insurance proceeds due and owing AVISTA PLEX under The Policy.

24. At all times relevant herein, WAUSAU UNDERWRITERS’ adjuster, Rabby
Philips, was an agent, employee, and/or representative insurance claims adjuster
amployed by WAUSAU UNDERWRITERS, and Robby Phillips was acting within the
course and scope of his employment with WAUSAU UNDERWRITERS.

25. Florida Statute §624.155 requires the insurance camer, WAUSAU
UNDERWRITERS, to treat its insureds with honesty, fairness, and with due reqard for
the interests of the insured. WAUSAU UNDERWRITERS breached this duly in the
claims handling of AVISTA PLEX'S insurance claim for, inter alia, financial gain and
profit.

26. WAUSAU UNDERWRITERS is engaged in the business of insurance and
is subject to Florida statutes, Florida regulations and Florida law while involved and
engaged in the business of insurance.

27. In the State of Florida an insurance carrier, WAUSAU UNDERWRITERS,
pursuant to Florida Statute §624.155(1}(b)(1), has a duty to attempt, in good faith, to
settle claims when, under all these circumstances, it could and should have done so.
had it acted fairly and honestly towards its insureds, and with due regard for the
insureds’ interest. WAUSAU UNDERWRITERS has been guilty of failing and/or
refusing, in good faith, to settle the subject claim when under all circumstances it could
and should have done so had it acted fairly and honestly towards its insured, AVISTA
PLEX, thereby failing to settle or pay the subject claim when the obligation to settle and
pay had become more than reasonably clear. WAUSAU UNDERWRITERS breached
Case 6:05-cv-01430-GAP-JGG Document 3 Filed 09/28/05 Page 6 of 13 PageID 13

this duty in the claims handling of AVISTA PLEX'S insurance claim for. inter alia.
financial gain and profit.

28. In the State of Florida an insurance carrier, WAUSAU UNDERWRITERS,
pursuant to Florida Statute §624.155(1)(b){3), has a duty nat to fail to promptly settte
claims, when the obligation to settle a claim has become reasonably clear, under one
portion of the insurance policy coverage, in order to influence setdements under other
portions of the insurance policy coverage. WAUSAU UNDERWRITERS breached this
duty in the claims handling of AVISTA PLEX’S insurance claim for, inter alia, financial
gain and profit.

29. WAUSAU UNDERWRITERS has failed and/or refused to treat AVISTA
PLEX fairly and honestly and with due regard for its interests in attempts to coerce
AVISTA PLEX to accept its “low-ball* offer, when it knew or should have known that
AVISTA PLEX’S damages far exceeded WAUSAU UNDERWRITERS repair
estimata(s). WAUSAU UNDERWRITERS breached its duty of good faith claims
handling with regard to its adjustment of AVISTA PLEX'’S insurance claim for, inter alia,
financial gain and profit,

30. Upon information and belief, as a general business practice, WAUSAU
UNDERWRITERS intentionally and/or in such reckless disregard for the rights of the
insureds, utilizes unfair claims handling practices for financial gain,

31. ‘Upon information and belief, WAUSAU UNDERWRITERS has financially
benefited from its unfair claims handling practicas and as such WAUSAU
UNDERWRITERS should be made to disgorge all unlawful or illegitimate monies it

profited from such bad faith claims handling practices, including but not limited to, any
Case 6:05-cv-01430-GAP-JGG Document 3 Filed 09/28/05 Page 7 of 13 PagelD 14

interest or monies WAUSAU UNDERWRITERS made from. such unlawful or illegitimate
monies,

32. Upon information and belief, WAUSAU UNDERWRITERS breached its
duty fair insurance claims practices in the adjustment AVISTA PLEX'S insurance claim
for financial gain and profit.

33. In the State of Florida an insurance carrier, WAUSAU UNDERWRITERS,
pursuant to Florida Statute §626.9541(1)(iN2}, has a duty not to make material
misrepresentation(s) to an insured for the purpose and with the intent of effecting
settlement of such claims, loss, or damage under such contract or policy on less
favorable terms than those provided in, and contemplated by, such contract or policy.
WAUSAU UNDERWRITERS breached this duty in the adjustment AVISTA PLEX’S
insurance claim for, inter alia, financial gain and profit.

34. In the State of Florida an insurance carrer, WAUSAU UNDERWRITERS,
pursuant to Florida Statute §626.9541(1)(if3\a), has a duty toa adopt and implement
standards for the proper investigation and settlement of claims. WAUSAU
UNDERWRITERS breached this duty in the adjustment AVISTA PLEX'S insurance
claim for, inter alia, financial gain and profit.

35. In the State of Florida an insurance carrier, WAUSAU UNDERWRITERS,
pursuant to Florida Statute §626.9541(1\i)(3Nb), has a duty to not to misrepresent
pertinent facts or insurance policy provisions relating to Coverages at issue to an
insured. WAUSAU UNDERWRITERS breached this duty in the adjustment AVISTA

PLEX’S insurance claim for, inter alia, financial gain or profit.
Case 6:05-cv-01430-GAP-JGG Document 3. Filed 09/28/05 Page 8 of 13 PagelD 15

35. In the State of Florida an insurance carrier, WAUSAU UNDERWRITERS,
pursuant to Florida Statute §626.9541(1)(I)(3)(c), has a duty to not fail to acknowledge
and act promptly upon communications with respect to an insured’s claim. WAUSAU
UNDERWRITERS breached this duty in the adjustment AVISTA PLEX'S insurance
claim for, inter alia, financial gain or profit.

37. In the State of Florida an insurance carrier, WAUSAU UNDERWRITERS,
pursuant to Florida Statute §626.9541(1iN3)(d), has a duty not to deny claims without
conducting reasonable investigations based upon available information. WAUSAU
UNDERWRITERS breached this duty in the adjustment AVISTA PLEX'S insurance
claim for inter alfa, financial gain or profit.

38. In the State of Florida an insurance carrier, WAUSAU UNDERWRITERS,
pursuant to Florida Statute §626.9541(1)((3Kf), has a duty to promptly provide a
reasonable explanation in writing to the insured of the basis in the insurance policy. in
relation to the facts or applicable law, for denial of a claim or for the offer of a
compromise settlement. WAUSAU UNDERWRITERS breached this duly in the
adjustment AVISTA PLEX'S insurance claim for, infer alia, financial gain or profit.

39. In the State of Florida an insurance carrier, WAUSAU UNDERWRITERS,
pursuant to Florida Statute §628.9541(1}((3)(g), has a duty to promptly natify the
insured of any additional information necessary for the processing of a claim. WAUSAU
UNDERWRITERS breached this duty in the adjustment AVISTA PLEX’S insurance

claim for, inter alia, financial gain of profit.
Case 6:05-cv-01430-GAP-JGG Document 3 Filed 09/28/05 Page 9 of 13 PagelD 16

40. Pursuant to Florida Statute §624.307, §624.308, §626.878 and Fla.
Admin. Code Ann. R. G9O-220.201 entitled “Ethical Requirements,” WAUSAU
UNDERWRITERS adjusters have the following duty:

A. Treat claims fairly and honestly, putting the claimant's interest
above the adjuster's own interest, in every instance.

B. Not to have no undisclosed financial interest in any direct or indirect
aspect of an adjusting transaction.

C, Treat all claimants equally, not provide favored treatment to any
claimant, and adjust all claims strictly in accordance with the insurance contract

D. Never approach investigations, adjustments, and settlements in a
manner prejudicial to the insured.

E. Make truthful and unbiased reports of the facts after making a
complete investigation.

F. Not knowingly fail to advise a claimant of their rights in accordance
with the terms and conditions of the contract of insurance and of the applicable laws of
the State of Florida.

G. That each and every adjustment and settlement must be handled
with honesty and integrity and to allow a fair adjustment or settlement to all parties
without any remuneration to herself/himself except that to which he is legally entitled.

H. Upon undertaking the handling of a claim, shall act with dispatch
and due diligence in achieving a proper disposition thereof, and

L. Shall not undertake the adjustment of any claim concerning which

the adjuster is mot currently competent and knowledgeable as to the terms and
Case 6:05-cv-01430-GAP-JGG Document 3 Filed 09/28/05 Page 10 of 13 PagelD 17

conditions of the insurance coverage, or which otherwise exceeds the adjuster's current
expertise.

41. Pursuant to Fla. Admin, Code Ann. R. 4-166.024 and 4-220.201.
WAUSAU UNDERWRITERS has a duty to adopt and implement standards for the
acknowledgment of insureds’ communications and investigation of claims with respect
to claims; and, to timely acknowledge its insureds’ communications with respect to
claims and conduct its investigation of claims.

42. WAUSAU UNDERWRITERS, rather than carrying out its contractual,
statutory, regulatory and ethical duties, WAUSAU UNDERWRITERS committed acts
during the adjustment of the claim and the underlying litigation which were not in “good
faith” and were in violation of Florida Statute §624.155(1)(b)(1). These acts include, but
are not limited to, the following:

A. Providing “tow ball" estimate of the insured's damages;

B. Delaying payment of undisputed insurance monies due and owing
AVISTA PLEX;

C. Delaying providing all necessary expert reports and/or damage
evaluations to AVISTA PLEX;

D. Engaging in the above actions in order to avoid and/or delay
payment of a covered loss;

E. Attempts to find ways to delay AVISTA PLEX’S clairn rather than
providing prompt and full indemnity to the policyholder;

F, Creation of a hostile, offensive and unprofessional investigation and

adjustment of AVISTA PLEX'S insurance claim:

10
Case 6:05-cv-01430-GAP-JGG Document 3 Filed 09/28/05 Page 11 of 13 PagelD 18

G. Failure to properly train, supervise or otherwise manage adjusters,
representatives, and investigators to properly, and in good faith, investigate and adjust
claims so that a prompt and fair evaluation of the claim can be made and proper
indemnity paid, resulting in the failure to pay a covered claim,

H. Failure to adopt and implement standards for the proper
investigation of AVISTA PLEX'S claim;

|.  Misrepresentation and/or omission of pertinent facts relating to the
coverages and/or facts of the joss at issue, so as to provide an legitimate basis for
delay of the claim or the “low balling’ of the claim amount, including the obligations of
both the insured, AVISTA PLEX, and the insurer, WAUSAU UNDERWRITERS, during
the adjustment of this claim;

J, Failure to acknowledge and act promptly upon written and oral
communications with respect to the claim, such that WAUSAU UNDERWRITERS itself
caused delays in the adjustment of the claim;

K. Delay of AVISTA PLEX’S claim without conducting a reasonable
investigation based upon available information,

L. Failure to promptly notify AVISTA PLEX of additional information
necessary for the processing of AVISTA PLEX’S claim and then subsequently failing to
clearly explain to AVISTA PLEX why information requested was relevant to the
adjustment; and

NM. Training, evaluation and promotion of adjusters and claims
management based on reduction of claim severity rather than promptly and fully paying

policyholders amounts owed.

I
Case 6:05-cv-01430-GAP-JGG Document 3 Filed 09/28/05 Page 12 of 13 PagelD 19

The above conduct demonstrates WAUSAU UNDERWRITERS failure to comply
in good faith with the terms.and conditions of The Policy.

43. The aforementioned actions by WAUSAU UNDERWRITERS complained
of in Paragraph forty-two (42) above, were made so often as to constitute a general
business practice and with the motive of WAUSAU UNDERWRITERS to enhance its
profits and were designed to be to the detriment of WAUSAU UNDERWRITERS
policyholders and, specifically, AVISTA PLEX herein, and all such actions were
conducted intentionally, maliciously, or in the reckless disregard of the rights of AVISTA
PLEX.

44. WAUSAU UNDERWRITERS implemented claims programs that were/are
secret and unknown practices that were designed to pressure its
adjusters/investigators/employees to pay lass than the value of the claim and be free
from regulatory and judicial review and create an unfair advantage over its competitors.

45. As adirect and proximate result of WAUSAU UNDERWRITERS’ wrongful
acts in violation of Florida Statute §624,155 and 626.9541 and Florida Admin. Code,
AVISTA PLEX has suffered damages.

46. Upon information and belief, the aforementioned acts, ornissions, and
statutory violations by WAUSAU UNDERWRITERS have occurred with such frequency
as to indicate a general business practice and said acts were performed willfully,
wantonly, and maliciously in reckless disragard for the rights of its insured, AVISTA
PLEX.

47. As a direct result of WAUSAU UNDERWRITERS’ aforementioned acts,

omissions, and statutory violations AVISTA PLEX was required to hire the undersigned

12
—

Case 6:05-cv-01430-GAP-JGG Document 3 Filed 09/28/05 Page 13 of 13 PagelID 20

counsel to represent it in the adjustment of its insurance claim and in this action, and
AVISTA PLEX was required to become obligated for attorney's fees and costs in
connection with the prosecution of this action and Florida Statute, including Florida
Statute §627.428, provides for the payment of attorneys fees in the event of such need.

WHEREFORE, the Plaintiff, AVISTA MANAGEMENT INC. d/b/a AVISTA PLEX,
INC., demands judgment against the Defendant, WAUSAU UNDERWRITERS
INSURANCE COMPANY, for actual and compensatory damages, interest and pre-
judgment interest, costs, altorney fees, disgorge all unlawful or illegitimate monies
Oefendant profited from its bad faith claims handling practices of unfair insurance claims
practices utilized against its insureds including but not limited to, any interest or monies
Defendant made from such unlawful or illegitimate monies, as well as any other
damages and relief that are deemed just and proper by this Court.

FURTHER, the Plaintiff respectfully requests a trial by jury on all issues so

triable.

Dated: Auqust 26, 2005

Florida Bor No. 062324

KELLY KUBLAK, ESQUIRE
Florida Bar #108952

MERLIN LAW GROUP, P.A.
777 8, Harbour Island Boulevard
Tampa, FL 33602
813-229-1000

613-229-3692 fax

Attorneys for Plaintiff

13
